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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO
                               Judge Christine M. Arguello


   Civil Action No. 19-cv-01199-CMA-STV

   AMANDA KENNEDY, on behalf of herself and those similarly situated,

          Plaintiff,

   v.

   MOUNTAINSIDE PIZZA, INC., and
   BRENT HAMILL,

          Defendants.


           ORDER GRANTING PLAINTIFF’S UNOPPOSED MOTION FOR FINAL
                          SETTLEMENT APPROVAL


          Before the Court is Plaintiff’s Unopposed Motion for Final Settlement Approval.

   (Doc. # 176.) The Court, having reviewed Plaintiff’s Unopposed Motion for Final

   Settlement Approval and considered the arguments made during the Final Approval

   Hearing, grants Plaintiff’s Motion.

                                     I.    BACKGROUND

          This is a wage and hour lawsuit brought on behalf of a class of pizza delivery

   drivers who worked at the Domino’s Pizza stores allegedly owned and operated by

   Defendants Mountainside Pizza, Inc., and Brent Hamill. See (Doc. # 1.) Plaintiff filed her

   Complaint on April 24, 2019. See (id.) On June 28, 2019, the parties filed a Joint Motion

   to Stay Proceedings to explore settlement of this action. See (Doc. # 27.) On July 2,

   2019, the Court granted in part and denied in part the parties’ Joint Motion. See (Doc. #




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   30.) The Court granted the parties’ request for a stay, but declined to approve the

   parties’ proposed notice. (Id.)

          The parties were unable to reach a settlement during the initial stay. See (Doc. #

   39.) The parties then briefed a number of issues, including a motion to dismiss (Doc. #

   42), cross-motions for summary judgment (Doc. ## 64 and 65), and a motion to send

   notice (Doc. # 40), among others. On August 26, 2020, the Court granted Defendants

   Motion for Summary Judgment and denied Plaintiff’s Motion for summary judgment.

   The parties then attended mediation on May 5, 2021 that resulted in the Settlement

   Agreement now before this Court.

          Plaintiff’s primary claim in this lawsuit is that Defendants paid delivery drivers at

   or close to minimum wage and, at the same time, required delivery drivers to pay for

   their own delivery expenses like vehicle maintenance, insurance, vehicle wear and tear,

   etc., but failed to sufficiently reimburse the drivers for these costs. Plaintiff maintains

   that employers must reimburse their employees for these costs. Plaintiffs claim that

   Defendants failed to reasonably approximate the expenses associated with employees’

   business use of their personal vehicles and have not adequately reimbursed the

   delivery drivers for all of their expenses. Plaintiffs claim that Defendants’ reimbursement

   practices result in a violation of the Fair Labor Standards Act and Colorado wage and

   hour laws. Defendants deny Plaintiff’s claims and believe they paid and reimbursed their

   delivery drivers properly. Defendants also deny that Plaintiffs’ claims are proper for

   class or collective action treatment, except for purposes of settlement.

          Defendants deny all allegations of unlawful conduct and expressly deny that they

   under-reimbursed their delivery drivers. Defendants allege that the reimbursements



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   paid more than cover driving expenses for Plaintiff and putative class members.

   Moreover, Defendants assert that Plaintiff has not provided sufficient evidence of his

   actual expenses to support his claim that Defendants’ reimbursement was inadequate.

   Defendants also maintain they are not required to reimburse at the IRS rate or

   reimburse actual expenses, but instead may reasonably approximate the expenses

   associated with employees’ business use of their personal vehicles. Finally, it is

   Defendants’ position that if the matter were to proceed, Plaintiff would be unable to

   satisfy the criteria for certifying this matter as a class or collective action.

                            II.     THE SETTLEMENT AGREEMENT

          The parties’ Settlement Agreement creates a Settlement Fund of $1,595,000.00.

   After deducting administration costs, attorney’s fees, litigation expenses, and the

   service awards for Plaintiffs, class members will each receive a pro rata share of the

   Settlement Fund based on (1) the number of miles they drove during the settlement

   period and (2) whether they filed an opt-in form in this lawsuit.

          The distributions are as follows:

            i.    Distribution

                  a)     The amount of the Settlement Amount remaining after the payment
                         of court-approved attorneys’ fees, costs, expenses, service awards,
                         claims administration costs, (referred to as the “Class Fund”), will be
                         distributed to the Class Members (including the Opt-in Subclass) who
                         do not exclude themselves as follows:

                             1. Each Class Member’s check will be equal to the Class
                                Member’s prorated share of the Class Fund based on the
                                miles driven (or if not available, a suitable proxy) by each
                                Class Member during the Class Period, divided by the total
                                miles driven by all Class Members during the Settlement
                                Period.




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                        2. The exception is that each mile driven by the Opt-in Subclass
                           members in the Class Period will count as 1.25x for miles
                           driven prior to May 5, 2021. The intent of this distribution
                           method is to recognize that the Opt-in Subclass members
                           potentially preserved more of their claims arising prior to May
                           5, 2021.

                        3. Within 40 days of the Court granting final approval of this
                           Settlement Agreement, the Administrator will issue a check to
                           each Class Member who does not exclude themselves
                           according to the above formula, representing a portion of the
                           total amount due.

                b)   Checks may be cashed or negotiated within 180 days of being
                     issued. After 180 days, the check will be void. The face of each check
                     will contain the following language: “Void after 180 days.” The
                     proceeds of any voided checks will be distributed to the Contingency
                     Fund.

          ii.   Contingency Fund

                a)   The amount of any uncashed checks from the Class Fund will be
                     retained in QSF and referred to as the “Contingency Fund.”

                b)   Class Members may request that the Administrator reissue stale
                     checks (i.e., checks that were not cashed within 180 days) and the
                     Administrator shall reissue said checks 14 days after Notice to Class
                     and Defendants’ Counsel unless a dispute arises.

                c)   Class Members can make a claim against the Contingency Fund via
                     email, U.S. mail, or through Class Counsel by providing name and
                     social security number (or if social security number is not available,
                     such other form of identification as reasonably requested by the
                     Administrator to confirm the identity of the Class Member). The
                     Administrator may request any additional identifying information or
                     documents (if any) that the Administrator reasonably believes
                     necessary to confirm the identity of the Class Member and status as
                     Class Member.

                d)   Distributions from the Contingency Fund shall be in the amount to
                     replace a check previously distributed (less administrative expenses
                     incurred for such replacements to the extent such are incurred by
                     Claims Administrator) and will be distributed within 14 days after
                     Notice to Class and Defendants’ Counsel of the submission of a valid
                     claim being received by the Administrator.

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                 e)     To the extent that there is a dispute regarding this process, the
                        Parties and their Counsel will attempt to informally resolve the
                        dispute. If informal resolution is unsuccessful, the Parties request the
                        assistance of the Claims Administrator, or if the Claims Administrator
                        cannot resolve the dispute, the Parties shall submit the dispute to the
                        Court for assistance in reaching resolution.

                 f)     Checks may be cashed or negotiated within 180 days of being
                        issued. After 180 days, the check will be void. The face of each check
                        will contain the following language: “Void after 180 days.” The
                        proceeds of any voided checks will be distributed to the Contingency
                        Fund.

                 g)     Any unclaimed amounts in the Contingency Fund as of May 5, 2024
                        will be distributed to Mountainside Pizza, Inc. Distributions shall be
                        made no later than May 31, 2024.

          iii.   Each check paid to a Class Member will be treated as expense
                 reimbursement up to the IRS rate, which shall be a blended IRS rate of $.55
                 for purposes of this settlement the parties have agreed to. Any amounts
                 paid above that will represent liquidated damages and will not be
                 considered wages or subject to withholding. A Form 1099 will issue to Class
                 Members for monies paid as liquidated damages.

   Settlement Agreement, ¶ 4(C).

          Opt in Plaintiffs and those who cash or negotiate their check agree to the

   following release of claims:

          By cashing or negotiating this check, I have agreed to join the lawsuit
          Amanda Kennedy v. Mountainside Pizza, Inc., et al., Case No. 1:19-cv-
          1199-CMA-STV (District of Colorado) (the “Lawsuit”) and agree to be bound
          to the Settlement and Release Agreement in the Lawsuit. I irrevocably and
          unconditionally waive, release, extinguish, acquit, and forever discharge
          any claim I may or might have against Defendants or any of the Released
          Parties (as defined by the Settlement and Release Agreement) for the wage
          and hour claims that were asserted in the Lawsuit or arising out of the facts
          asserted in the Lawsuit, which accrued at any time between April 1, 2016
          through May 5, 2021, including claims relating to failure to pay wages, the
          under-reimbursement of mileage and any other business expenses,
          unlawful deductions, “dual jobs/80-20” claims, tip credit notice claims, wage
          notification, posting, deduction, withholdings, recordkeeping and paycheck
          claims, untimely payment claims, and any related common law and
          equitable claims (e.g., breach of contract, unjust enrichment, etc.), including

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         any related claims for liquidated damages, penalties, attorneys’ fees and
         costs, taxes (if applicable), service awards, and any interest, that could be
         pursued under the federal Fair Labor Standards Act and any parallel
         federal, state, local, or municipal wage and hour laws, including those of
         Colorado, and any applicable federal, state, local or municipal law or
         regulation, whether known or unknown; and any and all derivative claims
         relating to unpaid wages, minimum wage or overtime compensation against
         the Defendants or Released Parties relating to the facts asserted in this
         Lawsuit, including the right to arbitrate said claims.

   Settlement Agreement, ¶ 6(D). Those who did not opt in and do not cash their check will

   release their state law claims, as described below, but will not release their FLSA

   claims:

         Each Class Member who does not opt-out of the Settlement releases all
         wage and hour claims accrued from April 1, 2016 through May 5, 2021,
         arising out of the facts asserted in the Lawsuit that were made against
         Defendants or the Released Parties, including claims relating to failure to
         pay wages, the under-reimbursement of expenses, unlawful deductions,
         “dual jobs/80-20” claims, tip credit notice claims, wage notification, posting,
         deduction, withholdings, recordkeeping and paycheck claims, and any
         related common law and equitable (e.g., breach of contract, unjust
         enrichment, etc.) claims, including any related claims for liquidated
         damages, penalties, attorneys’ fees and costs (including claims
         administration fees), and interest, that could be pursued under Colorado
         Minimum Wage Act, the Colorado Wage Claim Act, and any applicable
         state, local or municipal law or regulation, whether known or unknown; and
         any and all derivative claims relating to unpaid wages, minimum wage or
         overtime compensation against the Defendants or Released Parties relating
         to the facts asserted in this Lawsuit, including the right to arbitrate said
         claims.

   Settlement Agreement, ¶ 6(C).

         The Settlement Agreement also allows any class member who does not timely

   cash his/her check to request the Claims Administrator reissue his or her check at any

   time until May 5, 2024. Settlement Agreement, ¶ 4(C). The Court retains continuing

   jurisdiction over the Action to enforce, interpret, and otherwise implement the

   settlement.



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          The parties hired a Claims Administrator to distribute the Notice of Settlement.

   Notice was sent to 2,227 class members. See (Doc. # 176 at 4–5.) Defendants also

   complied with the Class Action Fairness Act (“CAFA”) by sending notices to the

   appropriate government officials. See (id.)

          The Settlement Agreement provides for payment of attorneys’ fees in the amount

   of 1/3 of the Settlement Fund, reimbursement of litigation expenses, administrative costs,

   and service awards to Plaintiff Amanda Kennedy and Ginger Dally.

                                       III.    ANALYSIS

   A.     CLASS CERTIFICATION IS APPROPRIATE FOR SETTLEMENT PURPOSES

          The Court hereby certifies the following Rule 23 settlement class:

          All current and former Delivery Drivers employed by Mountainside Pizza,
          Inc., from April 1, 2016 through May 5, 2021 (the”Class Period”) who do not
          exclude themselves, with the exception of those Delivery Drivers who settle
          claims in Nelson v. Mountainside Pizza, Inc. to the extent that those claims
          were released through February 10, 2017..

          The Settlement Class meets all of the requirements for class certification

   under Federal Rule of Civil Procedure 23(a) and (b)(3) for purposes of settlement. 1

   Federal Rule of Civil Procedure 23(a)(1) is satisfied because there are 2,227 class

   members, and thus, joinder is impracticable. (Doc. # 171 at 15.) Plaintiff

   satisfies Federal Rule of Civil Procedure 23(a)(2) because Plaintiff and the class

   members share common issues of fact and law. Plaintiff alleges that Defendants’

   reimbursement policy harmed all of the class members in the same way. Defendants do

   not contest that commonality is satisfied for settlement purposes.




   1The Court acknowledges that Defendants agreed to class certification pursuant to Rule 23 and
   collective action certification pursuant to Section 216(b) for settlement purposes only.

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            For the same reason, Plaintiff satisfies the typicality requirement in Federal Rule

   of Civil Procedure 23(a)(3) because Plaintiff’s claims arise from the same factual and

   legal circumstances that form the basis of the class members claims. (Doc. # 171 at

   16.) Defendants do not contest that typicality is satisfied for settlement purposes.

            Plaintiff satisfies Federal Rule of Civil Procedure 23(a)(4) because there is no

   evidence that she has interests antagonistic to or at odds with those of class members.

            Plaintiff also satisfies Federal Rule of Civil Procedure 23(b)(3). Class members’

   common factual allegations and legal theory—that Defendants under-reimbursed the

   delivery drivers, paid them at the wrong rate for some hours, and took improper

   deductions from wages—predominate over any factual or legal variations among class

   members. Defendants do not contest predominance is satisfied for settlement purposes.

            The Court appoints Biller & Kimble, LLC, and The Law Office of David

   Lichtenstein, LLC as class counsel because they meet all of the requirements of Rule

   23(g).

            Finally, the Court finds that the Class Notice process undertaken by the Claims

   Administrator met the requirements of Rule 23(e)(1), and the government notices

   provided met the requirements of CAFA. (Doc. # 176 at 4–5.)

            The Court also finds that all FLSA opt in Plaintiffs are properly joined to the case,

   and that the case is properly certified as a collective action pursuant to Section 216(b)

   of the FLSA.

            The Court grants certification of a Rule 23 and FLSA Section 216(b) settlement

   class of Defendants’ delivery drivers allegedly employed by Defendant Mountainside

   Pizza, Inc. from April 1, 2016 through May 5, 2021.



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   B.     THE PARTIES’ SETTLEMENT IS FAIR, REASONABLE, AND ADEQUATE.

          Rule 23(e) requires court approval for a class action settlement so that it is

   procedurally and substantively fair, reasonable, and adequate. Fed. R. Civ. P. 23(e)(2).

          To determine whether a proposed settlement is fair, reasonable, and adequate,

   courts consider the following factors: “(1) whether the proposed settlement was fairly

   and honestly negotiated; (2) whether serious questions of law and fact exist, placing the

   ultimate outcome of the litigation in doubt; (3) whether the value of an immediate

   recovery outweighs the mere possibility of future relief after protracted and expensive

   litigation; and (4) the judgment of the parties that the settlement is fair and reasonable.”

          As to the first factor, this case has been pending for over two and a half years,

   during which the parties have briefed several motions and have engaged in formal

   discovery. Counsel for both parties are well-versed in pizza delivery driver litigation,

   having litigated a number of cases across the country, and were therefore able to

   evaluate the strengths and weaknesses of the case based on the discovery exchanged.

   The parties proceeded to mediation to resolve this dispute, and there is no evidence of

   collusion. Based on the information provided, the Court finds that the settlement is the

   product of fair and honest negotiations.

          The Court also finds that there are serious questions of law and fact in this case

   that likely would have affected the class members’ chances at recovery. Defendants

   argue they properly compensated all of their delivery driver employees. In addition, the

   parties dispute several issues, including class certification, which statute of limitations

   applies, and to what extent state law penalties and/or liquidated damages would be

   available. As a result, the outcome of the litigation for either party is far from settled.



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    Given the inherent uncertainty in continuing litigation of these issues, the Court finds

    that this factor weighs in favor of approving the parties’ settlement agreement.

           The Court next considers whether the value of immediate recovery outweighs the

    mere possibility of future relief after protracted and expensive litigation. Continued

    litigation would likely lead to additional motion practice, trial, and an appeal. Under the

    parties’ settlement agreement, class members will receive a pro rata share of

    $1,595,000, less attorney's fees and other adjustments. See (Doc. # 171-1, Section 4.)

    Given the risks and costs of protracted litigation and uncertainty surrounding class

    members' ability to recover, the Court finds that the immediate recovery provided for in

    the parties’ settlement agreement outweighs the possibility of greater future relief.

           The fourth factor also weighs in favor of final approval of the parties’ settlement.

    Here, class counsel has extensive experience representing plaintiffs in wage and hour

    law cases and in class actions. See (Doc. # 171 at 7–8.) In Plaintiff’s Unopposed

    Motion, counsel states that “given the strengths and weaknesses of the claims and

    collectability, this settlement is fair, adequate, and reasonable. See (id. at 8.)

           Finally, no class members objected to the settlement, nor have any class

    members requested exclusion from the settlement. See (Doc. # 176 at 6.) Class

    members’ apparently positive response to the settlement is further evidence that it is

    fair, adequate, and reasonable.

           The Court therefore approves the parties’ Settlement Agreement as fair,

    adequate, and reasonable pursuant to Fed. R. Civ. P. 23(e)(2.

           Likewise, the Court approves the parties’ Settlement Agreement and determines

    that the settlement is a reasonable compromise of a bona fide dispute of the claims and



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    defenses in this matter and there is nothing in the record to suggest that the settlement

    would otherwise frustrate the implementation of the FLSA.

    C.    FEES, EXPENSES, AND SERVICE AWARDS

          Plaintiff’s Counsel asks the Court to approve an attorneys’ fees award of one-

    third of the Settlement Fund, i.e., $531,666.67. Defendants do not object to the

    requested fee award. In granting preliminary approval, the Court provisionally approved

    Plaintiff’s Counsel’s request for fees and costs, and explained that the fees and costs

    would be finally approved after taking into account any objections and argument at the

    final fairness hearing. The Notice period is closed, and no class members objected to

    the settlement or the requested fees and costs.

          It is common in the Tenth Circuit to examine the reasonableness of a fee request

    through a percentage of recovery analysis. The Court finds this request for attorneys’

    fees to be fair, adequate, and reasonable, and therefore grants Plaintiff’s Counsel’s

    request for attorneys’ fees in the amount of $531,666.67.

          The Court also grants Plaintiff’s Counsel’s request for reimbursement of litigation

    costs in the amount of $38,708.79 and approves the claims administration costs of

    $19,999.02 to date as fair, adequate, and reasonable.

          The Court also approves the request for service awards in the amount of $8,000

    to Amanda Kennedy and $2,000 to Ginger Dally. These plaintiffs provided valuable

    insight to Class Counsel throughout the case, and their efforts resulted in substantial

    payments to a class of over 2,000 minimum wage pizza delivery drivers. The requested

    service awards are reasonable. Accordingly, the Court grants Plaintiffs’ request for

    service awards in the amount set forth herein.



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                                    IV.     CONCLUSION

          Having reviewed Plaintiffs’ Unopposed Motion for Final Settlement Approval, the

    Court GRANTS the motion. (Doc. # 176.) Settlement class members are permanently

    enjoined from prosecuting against the Released Parties (as defined in the Agreement)

    any and all of the Released Claims (as defined in the Agreement).

          This action is hereby DISMISSED with prejudice, with the Court to retain

    jurisdiction to enforce the Agreement. The Parties are ordered to carry out the

    settlement according to its terms.

          DATED: December 13, 2021


                                                    BY THE COURT:


                                                    _____________________________
                                                    CHRISTINE M. ARGUELLO
                                                    United States District Judge




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